Case 23-00047-pmm            Doc 58-1 Filed 10/29/24 Entered 10/29/24 14:35:32               Desc
                             Exhibit Belli Declaration Page 1 of 2



                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:
 MIDNIGHT MADNESS DISTILLING LLC,                                CHAPTER 7
                                                                 Case No. 21-11750-PMM
                          Debtor.




 BONNIE B. FINKEL, in her capacity as Chapter 7                  Adv. No. 23-00047-PMM
 Trustee for Midnight Madness Distilling LLC,

                          Plaintiff,
                  v.

 CASEY PARZYCH, et al.,

                          Defendants.

                DECLARATION OF ANDREW J. BELLI IN SUPPORT
                  OF THE TRUSTEE’S OPPOSITION TO MOVING
            DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT

       I, Andrew J. Belli, hereby declare as follows:

       1.        I am counsel to Bonnie B. Finkel, the Chapter 7 Trustee (the “Trustee”) for the

Debtor, in the above-captioned adversary proceeding.

       2.        I make this declaration on my own knowledge and belief in support of the

Trustee’s opposition to Moving Defendants’ Motion to Dismiss Amended Complaint (the

“Opposition”).

       3.        True and correct copies of the documents cited in the Opposition are attached

hereto as follows:




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                           Exhibit Belli Declaration Page 2 of 2



 Ex.                                          Description

 A     Transcript of 9/15/2021 Rule 363 Hearing (Bankr. D.I. 189)
 B     Docket Sheet from Lorubbio v. Parzych, et al., Bucks County CCP No. 2021-01816
 C     Defendants’ Memorandum of Law In Support of Motion for Summary Judgment, filed
       on 7/15/2023 in Lorubbio v. Parzych, et al., Bucks County CCP No. 2021-01816
 D     9/20/21 email from William Burnett to Patricia Jefferson attaching executed Asset
       Purchase Agreement between Debtor and Millstone
  E    9/15/21 email from Harry Giacometti to Eileen Godfrey attaching Exhibit List and
       Exhibit 5 re: Section 363 Hearing
  F    10/25/24 Conditional Assignment of Claims and Declaration of Robert Cassell


       I declare under penalty of perjury that the foregoing is true and correct.

Dated: October 29, 2024

                                             /s/ Andrew J. Belli
                                             Andrew J. Belli
                                             COREN & RESS, P.C.
                                             Two Commerce Square, Suite 3900
                                             2001 Market Street
                                             Philadelphia, PA 19103
                                             Tel. (215) 735-8700




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